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THE UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH CAROLINA

CHARLESTON DIVISION
UNITED STATES OF AMERICA ) CRIMINAL NO.: At AY-Cs -5\
)
) 18 U.S.C. § 844(i)
-versus- ) 18 U.S.C. § 844(c)C1)
) 18 U.S.C. § 981(a)(1)(C)
) 18 U.S.C. § 981(a)(1)(G)
SETH SPIGNER, ) 18 U.S.C. § 982(a)(2)(B)
a/k/a “Nile”, ) 28 U.S.C. § 2461(c)
a/k/a “Yordle That Takes No Skill”, )
a/k/a “Lil Uzi Seth”, ) INDICTMENT
a/k/a “Null and Void” ) (SEALED)

COUNT 1
THE GRAND JURY CHARGES:

On or about December 30, 2023, in the District of South Carolina, the Defendant, SETH
SPIGNER, a/k/a “Nile”, a/k/a “Yordle That Takes No Skill”, a/k/a “Lil Uzi Seth”, a/k/a “Null
and Void”, maliciously did damage and destroy, attempt to damage and destroy, and cause to be
damaged and destroyed, by means of fire, vehicles used in activities affecting interstate commerce,
that is, a concrete truck and a semi-tractor and other vehicles belonging to Thomas Concrete, Inc.,
in Summerville, South Carolina;

In violation of Title 18, United States Code, Section 844(4).

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FORFEITURE

ARSON:

Upon conviction for violation of Title 18, United States Code, Section 844(i) as charged in
this Indictment, the Defendant, SETH SPIGNER, a/k/a “Nile”, a/k/a “Yordle That Takes No
Skill”, a/k/a “Lil Uzi Seth”, a/k/a “Null and Void”, shall forfeit to the United States any
property, real or personal, involved in the offense, constituting, derived from or traceable to
proceeds the Defendant obtained directly or indirectly as a result of such offense.

PROPERTY:

Pursuant to Title 18 United States Code, Sections 981(a)(1)(C) and (G), 982(a)(2)(B), and
844(c)(1) and Title 28, United States Code, Section 2461(c), the property subject to forfeiture
includes, but is not limited to, the following:

Cash Proceeds/Forfeiture Judgment:

A sum of money equal to all proceeds the Defendant obtained directly or indirectly
from the offense charged in the Indictment, that is, a minimum of $596,640.00 in
United States currency and all interest and proceeds traceable thereto, and/or a sum
of money equal to all property involved in the arson offense charged in the
Indictment, and all interest and proceeds traceable thereto.

SUBSTITUTE ASSETS:

If any of the property described above as being subject to forfeiture, as a result of any act
or omission of the Defendant —

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third person;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be subdivided
without difficulty;

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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of the said Defendant

up to the value of the above described forfeitable property;

Pursuant to Title 18 United States Code, Sections 981(a)(1)(C) and (G), 982(a)(2)(B), and

844(c)(1) and Title 28, United States Code, Section 2461(c).

A\t BILL

By:

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